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UNITED STATES DISTRICT COURT
MII)DLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

JOHN ETTLINGER,

Piaintiff,
v. Case No. 3:16-cv-l42-HES-JBT
CREI)IT ()NE BANK, N.A.,

Dei`cndant.
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ORDER
Bel`ore the Court is the parties’ “Joint Stipulation ot`Dismissal Without I’rejudice"' (Doc. '?,
filed Mar. 24, 2016). The parties dismiss this case pursuant to ch. R. Civ. P. 4l(a)(l)(A)(ii), with
each party to bear its own fees and costs.
Accordingly, it is hereby ORDERED:
l. 'I`his case is DISMISSED without prejudice; and
2. 'l`he Clcrk is directed to CLOSE this case.

DONE AND ORDERED al Jacksonville, l"lorida, this §Of day of March, 2016.

     
 

   

.. IN R
DIS'I`RICT JUDGE

C<)pies 10:

i"`rank I'I. Kemey, III, lisq.
Octavio Gomez, Esq.
Rachcl A. Morris, Esq.

